                                                                      Number";
                                                             cMsg = app.response(cAsk);
    Case 2:22-cv-00184-LCB-CWB Document 69-13 Filed 05/02/22 Pageevent.value
                                                                  1 of 3     = cMsg;
                                                                                                DEFENDANT'S
                                                                                                  EXHIBIT

                                                                                                    13


               Medicine and gender transidentity in children and adolescents
                   Press release of the French National Academy of Medicine1
                                          February 25, 2022
Gender transidentity is the strong sense, for more than 6 months, of identification with a gender
different from that assigned at birth. This feeling can cause a significant and prolonged
suffering, which can lead to a risk of suicide (a). No genetic predisposition has been found.
The recognition of this disharmony is not new, but a very strong increase in the demand for
physicians for this reason has been observed (1, 2) in North America, then in the countries of
northern Europe and, more recently, in France, particularly in children and adolescents. For
example, a recent study within a dozen high schools in Pittsburgh revealed a prevalence that
was much higher than previously estimated in the United States (3): 10% of students declared
themselves to be transgender or non-binary or of uncertain gender (b). In 2003, the Royal
Children's Hospital in Melbourne had diagnosed gender dysphoria in only one child, while
today it treats nearly 200.
Whatever the mechanisms involved in the adolescent – overuse of social networks, greater
social acceptability, or example in the entourage - this epidemic-like phenomenon results in the
appearance of cases or even clusters in the immediate surroundings (4). This primarily social
problem is based, in part, on a questioning of an excessively dichotomous vision of gender
identity by some young people.
The medical demand is accompanied by an increasing supply of care, in the form of
consultations or treatment in specialized clinics, because of the distress it causes rather than a
mental illness per se. Many medical specialties in the field of pediatrics are concerned. First of
all psychiatry, then, if the transidentity appears real or if the malaise persists, endocrinology
gynecology and finally surgery are concerned.
However, a great medical caution must be taken in children and adolescents, given the
vulnerability, particularly psychological, of this population and the many undesirable effects,
and even serious complications, that some of the available therapies can cause. In this respect,
it is important to recall the recent decision (May 2021) of the Karolinska University Hospital
in Stockholm to ban the use of hormone blockers.
Although, in France, the use of hormone blockers or hormones of the opposite sex is possible
with parental authorization at any age, the greatest reserve is required in their use, given the

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for, 20 against and 13 abstentions, was approved, in its revised version, by the Board of Directors on
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side effects such as impact on growth, bone fragility, risk of sterility, emotional and intellectual
consequences and, for girls, symptoms reminiscent of menopause.
As for surgical treatments, in particular mastectomy, which is authorized in France from the
age of 14, and those involving the external genitalia (vulva, penis), their irreversible nature
must be emphasized.

Therefore, faced with a request for care for this reason, it is essential to provide, first of all, a
medical and psychological support to these children or adolescents, but also to their parents,
especially since there is no test to distinguish a "structural" gender dysphoria from transient
dysphoria in adolescence. Moreover, the risk of over-diagnosis is real, as shown by the
increasing number of transgender young adults wishing to "detransition". It is therefore
advisable to extend as much as possible the psychological support phase.

The National academy of medicine draws the attention of the medical community to the
increasing demand for care in the context of gender transidentity in children and
adolescents and recommends:
- A psychological support as long as possible for children and adolescents expressing a desire
to transition and their parents;
- In the event of a persistent desire for transition, a careful decision about medical treatment
with hormone blockers or hormones of the opposite sex within the framework of Multi-
disciplinary Consultation Meetings;
- The introduction of an appropriate clinical training in medical studies to inform and guide
young people and their families;
- The promotion of clinical and biological as well as ethical research, which is still too rare in
France on this subject.
- The vigilance of parents in response to their children's questions on transidentity or their
malaise, underlining the addictive character of excessive consultation of social networks which
is both harmful to the psychological development of young people and responsible, for a very
important part, of the growing sense of gender incongruence.


Glossary:
a. Gender dysphoria is the medical term used to describe the distress resulting from the
incongruence between the felt gender and the gender assigned at birth (5).
b. A non-binary person is a person whose gender identity is neither male nor female.
c. A transgender person adopts the appearance and lifestyle of a sex different from that assigned
at birth. Whether born male or female, the transgender persons changes, or even rejects, their
original gender identity. The sex registered on his or her civil status does not correspond to the
appearance he or she sends back. This does not necessarily lead to a therapeutic approach.
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